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                             Exhibit 7
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                                                                                                  US007 19914.4B2


   (12) United States Patent                                                     (10) Patent No.:              US 7,199,144 B2
          Rukhman et al.                                                         (45) Date of Patent:                    *Apr. 3, 2007

   (54) PROCESS FOR THE PREPARATION OF                                             6,395,728 B2     5/2002 Webb et al.
           VALSARTAN AND INTERMEDIATES                                             6,465,502 B1    10/2002 Bullock et al.
           THEREOF                                                                 6,485,745 B1    11/2002 Wagner et al.
                                                                             2002/0132839 A1        9, 2002 Ganter et al.
    75                                                                       2003.0035832 A1        2/2003 Katakuse et al.
   (75) Inventors: EE SE SE (IL);                                            2003/0152620 A1        8/2003 Ganter et al.
                          en-Zion, Dolitzky, relan, Igya (IL).               2003/020793.0 A1      11/2003 Marti et al.
                         Evgeni Flyaks, Kiriat-Bialik (IL)                   2004/0072886 A1        4/2004 Reguri et al.
                                                                             2004/0242661 Al       12/2004 Rukhman, et al.
   (73) Assignee: Teva Pharmaceuticals Industries,                           2005/00598.27 A1       3/2005 Rukhman, et al.
                         Ltd., Petah Tiqva (IL)
                                                                                         FOREIGN PATENT DOCUMENTS
   (*) Notice:           Subject to any disclaimer, the term of this        EP              O 570 091 A1      11, 1993
                         patent is extended or adjusted under 35            EP              O 443 983 B1       2, 1996
                         U.S.C.
                           M YW- 154(b) by 0 days.
                                         y U days                           WO          WO 97,30036            8, 1997
                                                                            WO         WO99/OO1459. A          1, 1999
                         This patent is Subject to a terminal dis-          WO          WO 99,67231           12/1999
                         claimer.                                           WO          WO 01/82858 A2        11/2001
                                                                            WO          WO 01/82858 A3        11, 2001
   (21) Appl. No.: 10/829,873                                               WO          WO O2,06253 A1         1/2002
                                                                            WO         WO O3,O70246 A1         8, 2003
   (22) Filed:           Apr. 21, 2004                                      WO         WO O3,O894.17          10, 2003
                                                                            WO        WO 2004O26847            4/2004
   (65)                    Prior Publication Data                           WO       WO 2004/083.192           9, 2004
                                                                            WO       WO 2004/087681           10, 2004
           US 2005/OO598.27 A1           Mar 17, 2005                       WO       WO 2004/094392 A1        11, 2004
                   Related U.S. Application Data                                              OTHER PUBLICATIONS
   (60) Provisional application No. 60/557,497, filed on Mar.               U.S. Appl. No. 10/802.627.*
        30, 2004, provisional application No. 60/512,557,                   Peter Buhlmayer, et al., Bioorgan. & Med. Chem. Lett., 4(1), 29-34
           filed on Oct. 16, 2003, provisional application No.              (1994).
           60/473,640, filed on May 28, 2003, provisional appli-            This
                                                                            1252 (2000).
                                                                                         et al., J. Labelled Cpd. Radiopharm., 43(13) 1245
           cation No. 60/471,871, filed on May 20, 2003, pro
           visional application No. 60/464,197, filed on Apr. 21,           9. ong Jia, et al., Zhongguo Yiyao Gongye Zazhi, 32(9) 385-387
           2003.                                                            Borka L., et al., “Crystal Polymorphism of Pharmaceuticals'. Acta
                                                                            Pharm. Jugosl., 40, (1990) 71-94.
   (51) Int. Cl.                                                            Merck Index (12" Edition, p. 1691, Valsartan n. 10051).
        A6 IK 3/4I                  (2006.01)                               Zhong Guo, et al., Chinese Journal of Pharmaceuticals, 2002, pp.
        C07D 257/00                 (2006.01)                               385-387, vol. 32, Part 9.
   (52) U.S. Cl. ....................................... 514/381: 548/253   * cited by examiner
   (58) Field of Classification Search ................ 514/381:                     y
                                                         548/253            Primary Examiner Kamal A. Saeed
        See application file for complete search history.                   Assistant Examiner Susannah L. Chung
   (56)               References Cited                                      (74) Attorney, Agent, or Firm—Kenyon & Kenyon LLP
                    U.S. PATENT DOCUMENTS                                   (57)                     ABSTRACT
          5,260,325 A       11/1993 Markwalder et al.                       Provided are process for the preparation of Valsartan and the
          5,399.578 A * 3/1995 Buhlmayer et al. ......... 514,381           precursors thereof.
          5,965,592 A 10/1999 Buhlmayer et al.
          6,271,375 B1       8, 2001 Villa et al.
          6,294,197 B1      9/2001 Wagner et al.                                              18 Claims, No Drawings
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                                                      US 7,199,144 B2
                                1.
          PROCESS FOR THE PREPARATION OF
           VALSARTAN AND INTERMEDIATES
                     THEREOF



                           PRIORITY                                                   O


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      This Application claims the benefit of US provisional
                                                                                                 N
                                                                                                   MN
   application Ser. No. 60/473,640, filed May 28, 2003: U.S. 15                                   \ eN
                                                                                                    N      NH
   patent application Ser. No. 10/802.627, filed Mar. 17, 2004;
   PCT International Application No. PCTUS04/08322, filed
   Mar. 17, 2004; U.S. provisional application Ser. No. 60/557,           Formula
                                                                          Molecular Mass
                                                                                                   C24H29NSO3
                                                                                                      435.52
   497, filed Mar. 30, 2004; U.S. provisional application Ser.            Exact Mass                435.227040
                                                                          Composition    C 66.19% H 6.71% N 16.08% O 11.02
   No. 60/512,557, filed Oct. 16, 2003: U.S. provisional appli            Melting Range             105-110° C.
   cation Ser. No. 60/471,871, filed May 20, 2003; and U.S.
   provisional application Ser. No. 60/464,197, filed Apr. 21, 25 and is marketed as the free acid under the name DIOVAN.
   2003, the contents of all of which are incorporated herein.    DIOVAN is prescribed as oral tablets in dosages of 40 mg.
                                                                  80 mg, 160 mg and 320 mg of Valsartan.
                                                                        Valsartan and/or its intermediates are disclosed in various
                                                                      references, including: U.S. Pat. Nos. 5,399,578, 5.965,592,
                                                                30    5,260,325, 6,271,375, WO 02/006253, WO 01/082858, WO
                   FIELD OF THE INVENTION                         99/67231, WO 97/30036, Peter Bühlmayer, et. al., Bioorgan.
                                                                  & Med. Chem. Let., 4(1) 29–34 (1994), Th. Moenius, et. al.,
                                                                  J. Labelled Cpd. Radiopharm., 43(13) 1245–1252 (2000),
                                                                  and QingZhong Jia, et. al., Zhongguo Yiyao Gongye Zazhi,
                                                               35 32(9) 385-387 (2001).
      The present invention relates to a process for preparing       Valsartan is an orally active specific angiotensin II antago
   Valsartan and precursors thereof.                              nist acting on the AT1 receptor Subtype. Valsartan is pre
                                                                  scribed for the treatment of hypertension. U.S. Pat. No.
                                                                      6,395,728 is directed to use of Valsartan for treatment of
                                                                40    diabetes related hypertension. U.S. Pat. Nos. 6,465,502 and
                                                                      6,485,745 are directed to treatment of lung cancer with
                        BACKGROUND                                    Valsartan. U.S. Pat. No. 6,294,197 is directed to solid oral
                                                             dosage forms of Valsartan.
                                                                The synthesis of Valsartan is discussed, inter alia, in U.S.
                                                          45 Pat. No. 5,399,578. In the synthesis disclosed therein, the
     Valsartan, also known as (S)-N-(1-Carboxy-2-methyl final synthetic step (exclusive of work-up and purification)
                                                             involves the reaction of a cyano group on the biphenyl ring
   prop-1-yl)-N-pentanoyl-N-2'-(1H-tetrazol-5-yl)bi phenyl with   an azide, for example, tributyl tin azide. The reaction
   4-ylmethyl-amine, has the following structure:            scheme of the 578 patent is as follows:


                                                                                          HC        CH

                          CHO
                                                                                                r
                                                                                          CHNHCHCOCH
                                                                                                                 O

                                      Y              NaCNBH


              CN                                                  O           CN
                                                                                                              EtN
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                                                                           -continued

                                                                      "s"
                                                                       CHNCHCOH
                                                                                                                                   "..."
                                                                                                                                    CH2NCHCO2CH

                                                                          silt      a    1) BuSnN3
                                                                                         2) NaOH (aq)
                                                                                                                                        silt
                                                                          O              3) HCI                                         O

                                                            N
                                                         2 \,                                                                CN
                                                                 N

                                                     1 NN
                                                         N,N-4
   The starting compound in the '578 patent is made as follows:

                                                 NaOAc                                                  NaOH
                                                 --                                                     --
   BrCH                                          HOAc      AcOCH                                                        HOCH2

                            NC                                                      NC                                                      NC
                                                                                                                                             O

                                                                                                                                   DMSO ce
                                                                                                                                                 O


                                                                                                                         OCH2

                                                                                                                                            NC



      Peter Bühlmayer, et. al., Bioorgan. & Med. Chem. Let.
   4(1) 29–34 (1994)
      In Moenius, et. al., J. Labelled Cpd. Radiopharm., 43 (13) 35
   1245–1252 (2000), various schemes for synthesis of Valsar
   tan are provided, with one being:

                                                                     NN                                       HC         CH
                                                                   | W                                             MCH
                 H3C                     BrCH:                    Nin N                     CHSCHO                 s
                     \-CH                                                     r                             : gilt                   NN
   CHSCHO            s                                                            DIEA                          CH                     \
             y-st                   --                                            DMF                   O                2              N1NT
            O
                                                                                                            6796



                                                                                                                    O
                                                                                                                    | DIEA
                                                                                                             C4H9CC



                              HO
                                 "V-CH
                                  Š-CH
                                                     3

                                                                                  - - CHSCHO
                                                                                             "V-CH
                                                                                              Š-SCH
                                                                                                                             3


                                          CHN ||                     NN            Pd(C                            CHN ||            NN
                                O
                                                 2                N
                                                                      N
                                                                          \ NH
                                                                          N
                                                                                                     O
                                                                                                                         2          N
                                                                                                                                        N
                                                                                                                                            \ NT
                                                                                                                                            N




                                    60%                                                                     81%
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     Another paper, Qingzhong Jia, et. al., Zhongguo Yiyao
   Gongye Zazhi, 32(9) 385-387 (2001), discloses a synthesis
   scheme for Valsartan as follows:


                                         CH
                          CN                                           H3C                                      BrHC
                               --
                                                (Ph)3PNiCl2
                                                ---
                                                                                             CN     NBS
                                                                                                    Her
                                                                                                                                     CN
                                                      ZnCl2                                          BZO
                          C                           THF

                                         MgBr

                                                                                                           HC          CH

                                                                                                             HNCHOCO2CH2CHs
                                                                                                                 TSO



        "s"
   CHC- icot
                                                                  "..."
                                                       CHC-NCHCOCHCH                                   O
                                                                                                              "..."
                                                                                                               incoctical
       O    HC
                                    CN          H
                                                                  O   le                           C4H9CCI
                                                                                                                 HC
                                                                                                                  2                  CN




                               N.N. BioNet,
                                              Raney
                                                N



                                                                             Cl
                                                                             CH3
                                                                                                    DIEA




                                                      CH3C-NCHCO2H
                                                                       r                NEN
                                                              I                         /     V
                                                              O       HC               N N-H




                                                                             45
     There is a need in the art for an improved synthetic                         a) providing Valsartan containing less than about 10%
   process for the preparation of Valsartan and precursors of                        organic solvent by weight; and
   Valsartan.                                                                     b) maintaining the Valsartan at a temperature of from
                                                                                     about 5 to about 60° C. under pressure of less than 30
                OBJECTS AND SUMMARY OF THE                                   50      mmHg for a period of from about 1 to 5 days.
                         INVENTION                                                In one aspect, the present invention provides a process for
                                                                                preparing compound G3:
      In one aspect, the present invention provides a process for
   preparing Valsartan containing less than about 5000 ppm
   residual solvent, comprising the steps of                      55
      a) providing Valsartan containing less than about 10%
         organic solvent by weight; and
      b) triturating the Valsartan in water.
      In one aspect, the present invention provides a process for
   preparing Valsartan containing less than about 5000 ppm 60
   residual solvent, comprising the steps of
      a) providing Valsartan containing less than about 10%
         organic solvent by weight; and
      b) contacting with humid air in a fluidized bed drier.
      In one aspect, the present invention provides a process for 65
   preparing Valsartan containing less than about 5000 ppm
   residual solvent, comprising the steps of
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                               7                                                                   8
   wherein A is a C1 to C4 alkyl ester and X is a trityl group,        wherein A is a C1 to C4 alkyl ester and X is a trityl group,
   comprising the steps of                                             comprising the steps of:
     a) reacting compound G2:                                            a) reacting compound G2:




                                                                  10




                                                                  15




                                                                     wherein X is a trityl group and L is a leaving group, with a
   wherein L is a leaving group, with a derivative of L-valine derivative of L-valine in an organic Solvent in the presence
   in an organic solvent;                                            of a phase transfer catalyst;
      b) heating the reaction mixture;                                 b) heating the reaction mixture;
      c) cooling; and                                                  c) cooling:
      d) recovering the compound G3.
      In one aspect, the present invention provides a process for 25 e) adding an acylating agent;
   preparing compound G4 (shown below), comprising the                 f) agitating the reaction mixture; and
   steps of                                                            g) recovering the compound G4.
      a) reacting compound G3:                                         In one aspect, the present invention provides a process for
                                                                  30 preparing Valsartan comprising the steps of:
                                                                       a) reacting compound G2:

                                                                  35




                                                                  40




                                                                  45
   wherein A is a C1 to C4 alkyl ester and X is a trityl group, with a derivative of L-valine in a first organic solvent to
   with an acylating agent in an organic solvent;                    obtain a compound G3:
     b) agitating the reaction mixture; and
      c) recovering the compound G4.
      In another aspect, the present invention provides a process 50
   for preparing compound G4:

                                                                  55




                                                                  60




                                                                  65
                                                                         b) reacting compound G3 with an acylating agent in a
                                                                            second organic solvent to obtain a compound G4;
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                                                                   10




                                                                   15

                                                                      wherein A is a C1 to C4 alkyl ester; and
                                                                        e) converting the product of step (d) to Valsartan.
   and
                                                                        In one aspect, the present invention provides a process for
                                                                   2O preparing Valsartan comprising the steps of:
     c) hydrolyzing compound G4 to obtain Valsartan,                    a) reacting compound G3:
   wherein A is a C1 to C4 alkyl ester, X is a trityl group and
   L is a leaving group.
     In one aspect, the present invention provides a process for 25
   preparing L-valsartan comprising the steps of
     a) heating trityl Valsartan in methanol in the absence of an
        acid to hydrolyze the trityl group in Solution;
     b) cooling the solution to precipitate the trityl group; and so
     c) recovering the L-Valsartan.
     In one aspect, the present invention provides a process for
   preparing L-Valsartan from trityl Valsartan comprising the
   steps of                                                        35
     a) stirring a heterogeneous mixture of Valsartan in water
         and acetone;
     b) basifying the mixture
     b) removing the acetone;                                     40 wherein A is a C1 to C4 alkyl ester and X is a trityl group,
     c) filtering the water to remove the trityl group:              with an acylating agent in an organic solvent;
     d) extracting the water at acidic pH with ethyl acetate; and      b) agitating the reaction mixture;
     e) removing the iso-butyl acetate.                                c) recovering the compound G4:
     In one aspect, the present invention provides a process for 45
   preparing Valsartan comprising the steps of:
     a) reacting compound G2:

                                                              G2 50




                                                                   55




                                                                   60   and
                                                                          d) converting the product of step (c) to Valsartan.
   wherein X is a trityl group and L is a leaving group, with a
   derivative of L-valine in an organic solvent;                                   DETAILED DESCRIPTION OF THE
                                                                                            INVENTION
     b) heating the reaction mixture;                              65
     c) cooling:                                                           As used herein, the term agitation refers to causing motion
     d) recovering the compound G3:                                     in a liquid through application of a force. Such as by stirring.
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                              11                                                                   12
      As used herein, the terms triturating, slurrying and               In addition to bromine in VLS-02, other leaving groups
    Suspending are interchangeable, and all refer to a process        may be utilized, including other halogens such as chlorine,
   carried out in a heterogeneous mixture where complete              or Sulfonates. The acylating agent used may also include
   dissolution does not occur.                                        other leaving groups.
      The present invention provides a process for synthesis of 5 In a second step of the synthetic method of the present
   Valsartan. In the present invention, Valsartan is prepared by invention, the N-Valine methyl ester 5-(4'methylbiphenyl-2-
   reacting a compound of formula G2, wherein                         yl)-1-trity1-1H-tetrazole reaction product (VLS-04) is
                                                                      reacted with an acylating agent to form a Valsartan precursor
                                                                      such as (S)-N-(1-carboxymethoxy-2-methyl-prop-1-yl)-N-
                                                                G2 10 pentanoyl-N-2'-(1-trity1-1H-tetrazol-5-yl)bi     phenyl-4-yl
                                                                      methyl-amine (VLS-05). Crude residue produced in the
                                                                      synthetic step described above is dissolved in a suitable
                                                                      organic solvent. The organic Solvent preferably contains an
                                                                      amount of an organic basic material. Preferred organic basic
                                                                   15 materials include triethylamine, di-iso propyl methylamine
                                                                      and tributylamine. Preferred organic solvents include tolu
                                                                      ene, DMA, DMF, hexane and acetonitrile. A most preferred
                                                                      organic solvent is dry toluene. To the resulting Solution is
                                                                      added an acylating agent. The acylating agent is Valeroyl
                                                                   2O chloride in this case. The resulting mixture is agitated at
   X is a trityl protecting group with a C to Cester of valine, room temperature for a period of from about 12 to about 24
   followed by reaction with a valeroyl halide, and hydrolysis hours. Preferably the reaction mixture is agitated for a period
   of the resulting product to obtain Valsartan.                      of about 20 hours. The time of the acylation reaction can be
      The reaction is carried out in an organic solvent. conveniently monitored using thin layer chromatography.
   Examples of preferred organic solvents include, but are not as Following completion of the reaction, the reaction mixture
   limited to, N.N dimethyl formamide (DMF), dimethyl aceta is neutralized with a molar excess of base, preferably
   mide (DMA), toluene, hexane, 1,2-dimethoxyethane aqueous NaHCOs, and the resulting two-phase reaction
   (DME), diethoxymethane, tetrahydrofuran (THF), acetoni system is separated. The organic phase is washed and dried,
   trile (ACN), benzene, m-xylene, ethyl acetate, o-xylene, and the reaction product, (S)-N-(1-carboxymethoxy-2-me
   tetralins, formals, glymes and mixtures thereof. Other so thyl-prop-1-yl)-N-pentanoyl-N-2'-(1-trity1-1H-tetrazol-5-
   hydrocarbons useful in the practice of the present invention yl)biphenyl-4-yl methyl-amine, (VLS-05), separated out.
   will be apparent to the skilled artisan.                           The separation may be carried out by any known method,
      The synthesis of Valsartan, of the present invention, but is typically carried out by evaporation under reduced
   includes the step of reacting a 5-(4"bromomethylbiphenyl pressure. The reaction product may be purified by, for
   2-yl)-1H-tetrazole with an L-valine C to C derivative. A 35 example, chromatographic means, prior to further use in the
   preferred 5-(4"bromomethylbiphenyl-2-yl)-1H-tetrazole is synthesis. The crude material may be used in the next step.
   5-(4"bromomethylbiphenyl-2-yl)-1-trity1-1H-tetrazole                  In a third step of the synthetic method of the present
   (VLS-02). A preferred L-valine ester is L-valine methyl ester invention the protecting groups, e.g., the trityl group
   (VLS-07) or t-butyl ester. The use of an alkyl ester allows for attached to the tetrazole ring and the L-valine substituent
   removal under relatively mild conditions, and with hydroly- 40 (such as the methyl ester group of L-valine methyl ester
   sis. The step is carried out in an organic solvent reaction (VLS-07)), are cleaved by hydrolysis to produce Valsartan
   system. To the organic solvent is added an amount of a basic (VLS-00). Crude residue produced in the synthetic step
   material. The basic material may be a carbonate salt of an described above is dissolved in a suitable water-miscible
   alkali metal or an organic base. Preferred salts of alkali solvent. A solvent is water miscible if it is miscible with
   metals include Sodium carbonate and potassium carbonate. 45 water at least in any proportion from 80:20 to 20:80 (weight
   Carbonates are Suitable for a process on an industrial scale basis). Preferred water-miscible solvents include acetone,
   since they are cheaper than organic bases Such as DIEA. methyl ethyl ketone (MEK), acetonitrile, tetrahydrofuran
   Preferred organic bases include triethanolamine, diethano (THF), dioxane and C to C alcohols. Acetone is a most
   lamine, triethylamine, di-iso propyl methylamine and preferred water-miscible solvent. The resulting solution is
   diethylamine. Ethyl amine is also cheaper than DIEA. As so acidified and agitated at a temperature of from about 0°C.
   described above the organic solvent is preferably selected to about 40° C. Most preferably the temperature is about
   from DMF, DMA, acetonitrile (ACN), toluene, hexane, room temperature. The time of the cleavage reaction can be
   DME, diethoxymethane, THF, benzene, m-xylene, o-xylene, conveniently monitored using thin layer chromatography.
   ethyl acetate, tetralins, formals, glymes and mixtures An aqueous solution of a basic material is added. Suitable
   thereof. A most preferred organic solvent is acetonitrile. The ss basic materials include potassium hydroxide, potassium
   reaction may optionally be carried out in the presence of a carbonate and sodium hydroxide. The trityl alcohol formed
   catalyst. Preferred solvents for use with a phase transfer is separated and the liquid phase is acidified by addition of
   catalyst are toluene and ethyl acetate. VLS-07 is added to the a suitable acid to a pH of about 3. Preferred acids include
   solvent/base mixture. VLS-02 is added (preferentially in mineral acids, hydrogen Sulfate, trifluoroacetic acid, formic
   three separate portions) to the reaction mixture, and the 60 acid, hydrobromic acid and acetic acid. A most preferred
   resulting reaction mixture is heated with agitation for a acid is hydrochloric acid or hydrogen Sulfate. The resulting
   reaction time of between 1 to 6 hours.                             Suspension is extracted with ethyl acetate and the crude
      After the reaction time, the reaction system is cooled, and product, for example, (S)-N-(1-carboxymethoxy-2-me
   the solvent is removed to yield the crude residue of N-valine thyl-prop-1-yl)-N-pentanoyl-N-2'-(1H-tetrazol-5-yl) biphe
   methyl ester 5-(4'methylbiphenyl-2-yl)-1-trity1-1H-tetrazole 65 nyl-4-yl methyl-amine, (VLS-06), recovered by, for
   reaction product (VLS-04). Typically the solvent is removed example, evaporation under reduced pressure. The resulting
   by evaporation under reduced pressure.                             product is dissolved in an organic solvent. Preferred organic
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   Solvents include organic alcohols, acetone and acetonitrile. more preferably from about 3 to about 20 hours. Preferably,
   A most preferred solvent is methanol. The resulting solution the volume of water is about 4 to about 20 liters per kilogram
   is cooled to a temperature of between about -10° C. and of Valsartan.
   about 45° C. Preferably the resulting solution is cooled to a         Another manner to remove residual solvent, particularly
   temperature of between about 0°C. and about 4°C. The acid 5 ethyl acetate, is by performing a solvent exchange by
   is neutralized with a molar excess of base, preferably contacting the Solvate with humid gas in a fluidized bed
   aqueous KOH, and the water-miscible solvent is evaporated, apparatus. Preferably, the temperature is of about 25°C. to
   preferably at reduced pressure. The time of the cleavage about 50° C., more preferably about 30° C. to about 40° C.
   reaction can be conveniently monitored using thin layer 10 The contacting may be carried out for preferably about 6
   chromatography or HPLC monitoring. The solution is hours to about 2 days. As used herein, the term “humid
   extracted with ethyl acetate and acidified by addition of a refers        to a relative humidity of at least 30%, more preferably
   suitable acid to a pH of about 3. Preferred acids include at          least about 50% and most preferably at least about 80%.
   mineral acids, hydrogen Sulfate, trifluoroacetic acid, formic A suitable fluidized bed apparatus is Retsch TG-100.
   acid, hydrobromic acid and acetic acid. A most preferred 15 drying    Another manner to remove the residual solvent is by harsh
   acid is hydrochloric acid or hydrogen Sulfate. The resulting                which is carried out by maintaining the Valsartan at
   Suspension is cooled and the product recovered by, for             a temperature    of about 5 to about 60° C. under pressure of
   example, extraction. If desired, the isolated product can be less       than about 30 mmHg for a period of about 1 to about 5
   washed with water, and dried, preferably at reduced pres days.            Preferably, the pressure is less than about 10 mmHg,
                                                                      more preferably less than about 1 mmHg.
   SUC.
                                                                         The above embodiments for solvent removal often result
      The use of hydrolysis to remove the trityl group allows for in a powder, which is highly amorphous in nature, but may
   a process on an industrial scale, since the trityl group have a low level of crystallinity.
   precipitates as tri-phenyl carbinol, and may be recycled to           The final material obtained in the present invention is of
   prepare compound G2. If the trityl group is removed by particular
   hydrogenation, the protecting group that comes off would 25 free of itshigh          purity. The Valsartan obtained is substantially
                                                                                    D-isomer. The tablet level of the D-isomer is
   lack a hydroxide group that allows for derivatization into a
   halide and reaction with the amine of the tetrazole group to 0.26% sample,
                                                                               area by HPLC (USP method) in the prior art. In our
                                                                                 we managed to obtain a sample with a level of
   obtain compound G2.                                                <0.1% by HPLC according to USP, more preferably about
      Some of the steps of the present invention may be carried 0.07% of the D-isomer.
   out in one pot, as illustrated in the examples.                 30    This reduction in the level of the D-isomer was carried out
      The Valsartan synthesized may be obtained as various without use of any special cleaning reagents. Examples 8
   polymorphic forms in the solid state. Such forms are dis and 9 illustrate such cleaning effect. Without being bound by
   closed in Appl. No. 60/455.286, Filed on Mar. 17, 2003, any theory, when the cleaning effect appears during the
   entitled “Polymorphs of Valsartan and Processes for their synthesis, such effect might be due to use of acetone?water.
   Preparation', which is incorporated herein by reference. 35 A preferred ratio of acetone to water is about 4 to about
      Crude Valsartan may be crystallized from organic Solvents 0.5-1 (vol/vol). In examples 8 and 9, the ratio between
   such as dichloromethane, diethyl ether, ethyl acetate, t-butyl acetone and water is 2/1, and the ratio of the acetonefwater
   acetate, acetone, methyl ethyl ketone and isopropyl methyl solution to trityl Valsartan is 9 ml of the mixture per 1 gram
   ketone. In a preferred embodiment, Valsartan is crystallized of trityl Valsartan; In example 11 the ratio between acetone
   from Such C to C, ketone and esters, with ethyl acetate 40 and water 3.5/1, and the ratio of the acetonefwater solution
   being particularly preferred.                                      to trityl Valsartan is 5 ml of the mixture per 1 gram of trityl
      When crude material is crystallized out of ethyl acetate, Valsartan.        Cleaning with a mixture Such as that of acetone
   the wet material contains about 17% ethyl acetate. It is rather than isa clear
                                                                      and   water      carried out under heterogeneous conditions,
                                                                                            solution: due to a difference of solubility
   believed that crystallization from other organic solvents may 45
   also result in similar amounts of the solvent.                     between the racemate Valsartan and the Valsartan (L-iso
      The present invention provides for removing residual mer),             or trityl Valsartan, or L-trityl Valsartan. The preferred
                                                                      ratios of the acetone to water, and the waterfacetone solution
   organic solvent Such as ethyl acetate from the crude mate to the TVLS, are the ratios that give heterogeneous mixture,
   rial. The wet Valsartan, if having a high solvent content, is rather than a clear Solution.
   first dried, for example with a fluid bed dryer or a vacuum 50 The cleaning effect may also happen when hydrolyzing
   dryer, to obtain Valsartan with less than about 10% organic the protecting groups in methanol in the absence of an acid.
   solvent by weight. Preferably, after drying, in case of ethyl Simply, heating trityl Valsartan, to reflux temperature in
   acetate, the ethyl acetate contains about 2.7% ethyl acetate methanol followed by cooling may result in cleaning.
   by weight.                                                            The cleaning effect may also occur when triturating
      The present invention provides three different ways of 55 crystals obtained from ethyl acetate in water to remove
   removing residual organic solvent from Valsartan which may residual solvent.
   not be removed by conventional drying means.                          Although the cleaning effect in the present invention is
      In the first embodiment, the crude Valsartan containing illustrated with trityl Valsartan as a starting material, one of
   less than about 10% residual solvent is triturated in water, in    skill in the art would appreciate that the cleaning effect may
   order to remove the residual solvent to acceptable levels 60 be used in the same manner when having Valsartan as a
   (according to the ICH guidelines the level is limited to less starting material. The Valsartan can for example be a sample
   than about 5000 ppm). In one embodiment, after trituration recovered after hydrolysis of the methyl ester and the trityl
   in water, the level of the residual solvent is less than about     group, though preferably the ester is hydrolyzed first, and
   4000, more preferably about 3600 ppm. Preferably the then the resulting trityl Valsartan is “cleaned according to
   trituration is performed from about 4 to about 50° C., more 65 processes of the present invention.
   preferably from about 25 to about 40° C. Preferably, the              Pharmaceutical formulations of the present invention con
   trituration is carried out for about 5 hours to about 48 hours,    tain crystalline or amorphous Valsartan, optionally in mix
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                              15                                                                16
ture with other form(s) of Valsartan. The Valsartan prepared        Solid  and liquid compositions   may also be dyed using any
by the processes of the present invention are ideal for pharmaceutically acceptable colorant to improve their
pharmaceutical formulation. In addition to the active ingre appearance and/or facilitate patient identification of the
dient(s), the pharmaceutical compositions of the present product and unit dosage level.
invention may contain one or more excipients. Excipients            In liquid pharmaceutical compositions of the present
are added to the composition for a variety of purposes.
   Diluents increase the bulk of a solid pharmaceutical Solved or Valsartan
                                                                 invention,             and any other Solid excipients are dis
composition, and may make a pharmaceutical dosage form vegetable oil, alcohol, inpolyethylene
                                                                              Suspended       a liquid carrier Such as water,
                                                                                                          glycol, propylene gly
containing the composition easier for the patient and care col-or glycerin.
giver to handle. Diluents for solid compositions include, for 10
example, microcrystalline cellulose (e.g. Avicel(R),                Liquid pharmaceutical compositions may contain emul
microfine cellulose, lactose, starch, pregelatinized starch,     Sifying agents to disperse uniformly throughout the compo
calcium carbonate, calcium sulfate, Sugar, dextrates, dextrin,   sition an active ingredient or other excipient that is not
dextrose, dibasic calcium phosphate dihydrate, tribasic cal soluble in the liquid carrier. Emulsifying agents that may be
cium phosphate, kaolin, magnesiumn carbonate, magnesium 15 useful in liquid compositions of the present invention
oxide, maltodextrin, mannitol, polymethacrylates (e.g. include, for example, gelatin, egg yolk, casein, cholesterol,
Eudragit(R), potassium chloride, powdered cellulose, acacia, tragacanth, chondrus, pectin, methyl cellulose, car
sodium chloride, sorbitol and talc.                              bomer, cetostearyl alcohol and cetyl alcohol.
   Solid pharmaceutical compositions that are compacted             Liquid pharmaceutical compositions of the present inven
into a dosage form, Such as a tablet, may include excipients tion may also contain a viscosity enhancing agent to
whose functions include helping to bind the active ingredi improve the mouth-feel of the product and/or-coat the lining
ent and other excipients together after compression. Binders
for Solid pharmaceutical compositions include acacia, alg of the gastrointestinal tract. Such agents include acacia,
inic acid, carbomer (e.g. carbopol), carboxymethylcellulose alginic acid bentonite, carbomer, carboxymethylcellulose
Sodium, dextrin, ethyl cellulose, gelatin, guar gum, hydro 25 calcium or sodium, cetostearyl alcohol, methyl cellulose,
genated vegetable oil, hydroxyethyl cellulose, hydroxypro ethylcellulose, gelatin guar gum, hydroxyethyl cellulose,
pyl cellulose (e.g. Klucel(R), hydroxypropyl methyl cellu hydroxypropyl cellulose, hydroxypropyl methyl cellulose,
lose (e.g. Methocel(R), liquid glucose, magnesium maltodextrin, polyvinyl alcohol, povidone, propylene car
aluminum silicate, maltodextrin, methylcellulose, poly bonate, propylene glycol alginate, Sodium alginate, Sodium
methacrylates, povidone (e.g. Kollidon R, Plasdone(R). 30 starch glycolate, starch tragacanth and Xanthan gum.
pregelatinized starch, Sodium alginate and starch.                  Sweetening agents such as Sorbitol, Saccharin, Sodium
   The dissolution rate of a compacted solid pharmaceutical saccharin, Sucrose, aspartame, fructose, mannitol and invert
composition in the patient's stomach may be increased by Sugar may be added to improve the taste.
the addition of a disintegrant to the composition. Disinte
grants include alginic acid, carboxymethylcellulose calcium, 35 Preservatives and chelating agents such as alcohol,
carboxymethylcellulose sodium (e.g. Ac-Di-Sol R, Primel sodium benzoate, butylated hydroxy toluene, butylated
lose(R), colloidal silicon dioxide, croScarmellose Sodium, hydroxyanisole
                                                                 added   at levels
                                                                                   and ethylenediamine tetraacetic acid may be
                                                                                   safe for ingestion to improve storage stabil
crospovidone (e.g. Kollidon R, Polyplasdone(R), guar gum,
magnesium aluminum silicate, methyl cellulose, microcrys ity.
talline cellulose, polacrilin potassium, powdered cellulose, 40 According to the present invention, a liquid composition
pregelatinized starch, Sodium alginate, Sodium starch gly may also contain a buffer Such as guconic acid, lactic acid,
colate (e.g. ExplotabR) and starch.                              citric acid or acetic acid, Sodium gluconate, Sodium lactate,
   Glidants can be added to improve the flowability of a Sodium citrate or Sodium acetate. Selection of excipients and
non-compacted Solid composition and to improve the accu the amounts used may be readily determined by the formu
racy of dosing. Excipients that may function as glidants 45 lation Scientist based upon experience and consideration of
include colloidal silicon dioxide, magnesium trisilicate,        standard procedures and reference works in the field.
powdered cellulose, starch, talc and tribasic calcium phos          The solid compositions of the present invention include
phate.
   When a dosage form such as a tablet is made by the powders,   tions. The
                                                                             granulates, aggregates and compacted composi
                                                                             dosages include dosages Suitable for oral, buccal,
compaction of a powdered composition, the composition is 50
Subjected to pressure from a punch and dye. Some excipients rectal, parenteral (including Subcutaneous, intramuscular,
and active ingredients have a tendency to adhere to the and            intravenous), inhalant and ophthalmic administration.
                                                                 Although the most Suitable administration in any given case
Surfaces of the punch and dye, which can cause the product will       depend on the nature and severity of the condition being
to have pitting and other Surface irregularities. A lubricant treated,
can be added to the composition to reduce adhesion and ease 55 oral. Thethedosages
                                                                               most preferred route of the present invention is
                                                                                       may be conveniently presented in unit
the release of the product from the dye. Lubricants include dosage form and prepared
magnesium Stearate, calcium Stearate, glyceryl monostear known in the pharmaceuticalbyarts.         any of the methods well
ate, glyceryl palmitostearate, hydrogenated castor oil,
hydrogenated vegetable oil, mineral oil, polyethylene gly           Dosage forms include solid dosage forms like tablets,
col, Sodium benzoate, sodium lauryl Sulfate, Sodium Stearyl 60 powders, capsules, Suppositories, Sachets, troches and losen
fumarate, Stearic acid, talc and Zinc Stearate.                  ges, as well as liquid syrups, Suspensions and elixirs.
   Flavoring agents and flavor enhancers make the dosage            The dosage form of the present invention may be a
form more palatable to the patient. Common flavoring capsule containing the composition, preferably a powdered
agents and flavor enhancers for pharmaceutical products that or granulated Solid composition of the invention, within
may be included in the composition of the present invention 65 either a hard or soft shell. The shell may be made from
include maltol, Vanillin, ethyl Vanillin, menthol, citric acid, gelatin and optionally contain a plasticizer Such as glycerin
fumaric acid, ethyl maltol and tartaric acid.                    and Sorbitol, and an opacifying agent or colorant.
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   The active ingredient and excipients may be formulated                                    EXAMPLE 1.
into compositions and dosage forms according to methods
known in the art.                                                                       Preparation of VLS-04
   A composition for tableting or capsule filling may be
prepared by wet granulation. In wet granulation, some or all 5
of the active ingredients and excipients in powder form are
blended and then further mixed in the presence of a liquid,
typically water, that causes the powders to clump into
granules. The granulate is screened and/or milled, dried and 10
then screened and/or milled to the desired particle size. The HN
granulate may then be tableted, or other excipients may be
added prior to tableting, such as a glidant and/or a lubricant.
   A tableting composition may be prepared conventionally
by dry blending. For example, the blended composition of 15
the actives and excipients may be compacted into a slug or
a sheet and then comminuted into compacted granules. The                                                       K2CO3, MeCN
                                                                                                              ---
compacted granules may subsequently be compressed into a
tablet.
   As an alternative to dry granulation, a blended composi
tion may be compressed directly into a compacted dosage                               WLS-O2
form using direct compression techniques. Direct compres                                     O       OMe
sion produces a more uniform tablet without granules. 25
Excipients that are particularly well suited for direct com
pression tableting include microcrystalline cellulose, spray
dried lactose, dicalcium phosphate dihydrate and colloidal
silica. The proper use of these and other excipients in direct
compression tableting is known to those in the art with 30
experience and skill in particular formulation challenges of
direct compression tableting.
   A capsule filling of the present invention may comprise
any of the aforementioned blends and granulates that were 35                                             WLS-04
described with reference to tableting, however, they are not
Subjected to a final tableting step.
   The solid compositions of the present invention include            To a suspension of L-valine methyl ester (free base,
powders, granulates, aggregates and compacted composi              VLS-07,    4.8 g., 36.3 mmol) and KCO (10.0g, 72.6 mmol.
tions. The dosages include dosages Suitable for oral, buccal, 40   2 eq)  in anhydrous    acetonitrile (100 mL) was added VLS-02
rectal, parenteral (including Subcutaneous, intramuscular,         (18.2  g, 32.7  mmol.     0.9 eq) in three portions. The reaction
                                                                   was   stirred
and intravenous), inhalant and ophthalmic administration. monitoring; hexane/ethylfor   3.5   hours at 70° C. under argon (TLC
Although the most Suitable route in any given case will                                           acetate 4:1), cooled to 0° C. and
depend on the nature and severity of the condition being 45        filtered. The  filtrate  was  evaporated  under reduced pressure
treated, the most preferred route of the present invention is      to give  23.0 g of  crude   VLS-04  as a sticky yellow oil, having
oral. The dosages can be conveniently presented in unit a purity of 75–80%, as determined by HPLC.
dosage form and prepared by any of the methods well                                            EXAMPLE 2
known in the pharmaceutical arts.
   The solid compositions of the present invention may be a 50                           Preparation of VLS-05
plurality of Valsartan particles wherein the mean particle size
(d0.5) is about 2 um to about 7 um, and about 10 volume
percent or less of the plurality of particles have a particle
diameter equal to or greater than about 10 Jum.                 55
   The active ingredient and excipients may be formulated
into compositions and dosage forms according to methods
known in the art. The Solid oral dosage forms disclosed in
U.S. Pat. Nos. 6,485,745 and 6,395,728 may be used as a
guidance. The dosages and formulation of DIOVAN may 60
also be used for guidance. The dosage is preferably from
about 10 mg to about 1280 mg, more preferably from about
20 mg to about 640 mg, and most preferably from about 40
mg to about 320 mg.                                             65
   The present invention can be illustrated in one of its                            WLS-04
embodiments by the following non-limiting examples.
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                                                 US 7,199,144 B2
                           19                                                               20
                                                              3 eq), and stirred for 5 hours at room temperature (with TLC
                          -continued                          or HPLC monitoring). A solution of KOH (85%, 5.8 g., 86.8
                      O       OMe                             mmol. 4 eq) in 50 mL of water was slowly added, and the
                                                              acetone was evaporated under reduced pressure. Trityl alco
                                                              hol precipitate was filtered and washed with water (20 mL),
                                                              and the combined aqueous filtrate washed with 50 mL of
                                                              ethyl acetate and slowly acidified to pH 3 with 3N aqueous
                                                              HC1. The resulting suspension was extracted twice with
                                                              ethyl acetate, and the organic layers combined, washed with
                                                           10 brine, and evaporated under reduced pressure to give 8.8 g.
                                                              (approx. 90% yield) of crude VLS-06.
                                                                 The residue was redissolved in methanol (80 mL), cooled
                                                              to 0–4° C. and treated with a 5% aqueous solution of KOH
                                 WLS-05                       (65 mL, 49.0 mmol, ~2.5 eq). The resulting mixture was
                                                           15 stirred for 5 hours at room temperature (with TLC and
                                                              HPLC monitoring), and most of the methanol evaporated
   To solution of VLS-04 (prepared in Example 1, used under reduced pressure. The aqueous Solution was extracted
without further purification; 75% purity, 23.0g, 28.4 mmol) with ethyl acetate (2x30 mL), and slowly acidified to pH 3
and triethylamine (5.2g, 7.2 mL, 51.12 mmol. 1.8 eq) in dry with 3Naqueous HC1. The resulting suspension was cooled
toluene (200 mL) was slowly added Valeroyl chloride (4.8 g. down to 0–4° C., stirred for 30 min and filtered. The filter
4.7 mL, 39.8 mmol. 1.4 eq) under Argon. The resulting cake was washed with several portions of water, and dried
mixture was stirred for 20 hours at room temperature (TLC under reduced pressure at 40–50° C. to give 7.6 g (81%
monitoring; hexane/ethyl acetate 4:1) and Subsequently
quenched with a 10% aqueous solution of NaHCO, (100 based            on VLS-05: 96–98% purity by HPLC) of VLS-00 as
                                                              a white solid.
mL). The reaction mixture was stirred for an additional 30 25
min at room temperature, after which the two-phase mixture                             EXAMPLE 4
was separated. The organic phase was washed with brine,
dried over NaSO, filtered and evaporated under reduced                            Preparation of VLS-04
pressure to give 25.0 g of crude VLS-05 (about 75% purity
by HPLC) as a yellow semisolid. The crude VLS-05 product 30
was purified on a short silica gel column (hexane/ethyl
acetate 8:1) to give 15.8 g (80% yield based on VLS-02;
95% purity by HPLC) of VLS-05 as a yellow foam.
                       EXAMPLE 3
                                                           35
            Preparation of Valsartan (VLS-00)


                                                           40


                                                                                                        Solvent, K2CO3
                                                                                                        Her



                                                           45
                                           1) acetone,
                                           He
                                              aq HCI
                                           (2) MeOH,                          WLS-02
                                               aq. NaOH

                                                           50
              WLS-05



                                                           55




                                                                                               WLS-04
                                                           60

                                                                   1) Toluene as a Solvent (Liquid-solid Phase Transfer
                                                                Procedure):
                                                                  VLS-07 (free base, 2.00 g, 15.3 mmol, 1.5 eq),
                                                           65   BuNHSO, (Phase transfer, 1.56 g, 4.6 mmol, 0.3 eq) and
  VLS-05 (15.0g, 21.7 mmol), produced in Example 2, was         KCO, (8.5g, 61.2 mmol, 6 eq) were heated to 85-90° C. in
dissolved in acetone (90 mL) and 3N HCl (22 mL, approx.         dry Toluene (25 mL) under Argon and solution of VLS-02
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(5.66 g. 10.2 mmol) in dry Toluene (30 mL) was added                                  EXAMPLE 5
during 1.5 h period. The resulted Suspension was vigorously
stirred at 85–90° C. for 4 h (TLC monitoring, Hex/EtOAc                   Preparation of VLS-00 from VLS-05
4:1) and then cooled to 0–4°C. The precipitate was filtered
and the filtrate was evaporated under reduced pressure to
give 7.0 g (near quant.) of crude VLS-04 (85% purity about
HPLC) as yellow viscous oil. The crude was used in the next
step without any purification (The crude VLS-04 was also
purified on a silica gel column to give 75% yield of VLS-04 10
with 95% purity by HPLC).
   2) Acetonitrile as a Solvent:                                                                           1) acetone,
                                                                                                           He
                                                                                                              aq HCI
                                                                                                           (2) MeOH,
   VLS-07 (free base, 2.00 g, 15.3 mmol. 1.5 eq) and KCO 15                                                    aq. NaOH
(7.05 g, 51.0 mmol. 5 eq) were heated to 70° C. in dry
acetonitrile (25 mL) under Argon and VLS-02 (5.66 g, 10.2
mmol) was added in one portion. The resulted Suspension
was vigorously stirred at 70° C. for 2.5 h (TLC monitoring,
Hex/EtOAc 4:1) and then cooled to 0–4°C. The precipitate
was filtered and the filtrate was evaporated under reduced
pressure to give 7.0 g (near quant.) of crude VLS-04 (85%
purity about HPLC) as yellow viscous oil. The crude was 25
used in the next step without any purification (The crude
VLS-04 was also purified on a silica gel column to give 75%
yield of VLS-04 with 95% purity by HPLC).
   Second Step:                                             30


   The crude VLS-04 from the previous step (7.0 g., -10
mmol) and EtN (3.04 g. 4.18 mL, 30.1 mmol. 3 eq) were             1. Two Step Procedure via VLS-06:
                                                                 VLS-05 was converted to VLS-00 as follows: VLS-05
dissolved in dry Toluene (50 mL) under Argon and Valeroyl 35 (15.0g, 21.7 mmol) was dissolved in acetone (90 mL) and
chloride (2.77 g, 2.72 mL, 23.0 mmol. 2.3 eq) was added 3N HCl (22 mL, ~3 eq) and stirred for 5 h at room
dropwise at room temperature. The resulted Suspension was temperature (TLC or HPLC monitoring). A solution of KOH
stirred 5–6 h (TLC monitoring, Hex/EtOAc 4: 1) at room (85%, 5.8 g. 86.8 mmol. 4 eq) in 50 mL of water was slowly
temperature and quenched with 10% aqueous NaHCO (60 added and acetone was evaporated under reduced pressure.
mL). The two-phase mixture was vigorously stirred for 30 40 The precipitate (Trityl alcohol) was filtered and washed with
min, the phase were separated and organic one washed with water (20 mL); the combined aqueous filtrate washed with
brine, dried over NaSO, filtered and evaporated to give aqueous50 mL of EtOAc and slowly acidified to pH 3 with 3N
                                                                         HC1. The resulted Suspension was extracted twice
about 8.0 g of crude VLS-05 (-80% purity by HPLC).             with EtOAc, the combined organics were washed with brine
   One-Pot Procedure:                                       45 and evaporated under reduced pressure to give 8.8 g. (~90%
                                                               yield) of crude VLS-06. The residue was re-dissolved in
   VLS-07 (free base, 2.00 g, 15.3 mmol, 1.5 eq), MeOH                  (80 mL), cooled to 0–4° C. and treated with 5%
                                                               aqueous solution of KOH (65 mL, 49.0 mmol, -2.5 eq). The
BuNHSO, (Phase transfer, 1.56 g, 4.6 mmol, 0.3 eq) and resulted mixture was stirred for 5 h at room temperature
KCO, (8.5g, 61.2 mmol, 6 eq) were heated to 85-90° C. in 50 (TLC and HPLC monitoring) and most of the MeOH was
dry Toluene (25 mL) under Argon and solution of VLS-02 evaporated under reduced pressure. The aqueous solution
(5.66 g. 10.2 mmol) in dry Toluene (30 mL) was added was extracted with EtOAc (2x30 mL) and slowly acidified
during 1.5 h period. The resulted Suspension was vigorously to pH 3 with 3Naqueous HC1. The resulted suspension was
stirred at 85–90° C. for 4 h (TLC monitoring, Hex/EtOAc 55 cakecooled down to 0–4° C., stirred for 30 min and filtered. The
                                                                     was washed several times with water and dried under
4:1) and then cooled to 0-4°C. The precipitate was filtered, reduced pressure at 40–50 C and crystallized from Hex/
the filtrate was mixed with EtsN (3.04 g. 4.18 mL, 30.1 EtOAc 1:2 afforded 7.1 g (75% based on VLS-05, 96–98%
mmol. 3 eq) under Argon and Valeroyl chloride (2.77g, 2.72 chemical purity by HPLC) of VLS-00 as a white solid.
mL, 23.0 mmol. 2.3 eq) was added dropwise at room                 2. One-pot Procedure:
temperature. The resulted suspension was stirred 5–6 h 60 VLS-05 (15.0g, 21.7 mmol) was dissolved in acetone (90
(TLC monitoring, Hex/EtOAc 4:1) at room temperature and mL) and 3N HCl (22 mL, ~3 eq) and stirred for 5 hat room
quenched with 10% aqueous NaHCO (60 mL). The two temperature (TLC or HPLC monitoring). A solution of KOH
                                                               (85%, 6.1 g, 108.5 mmol, 5 eq) and BuNHSO (0.75g, 2.2
phase mixture was vigorously stirred for 30 min, the phase mmol,       0.1 eq) in 60 mL of water was slowly added, the
were separated and organic one washed with brine, dried 65 resulted Suspension was stirred for 24hat room temperature
over Na2SO, filtered and evaporated to give about 8.0 g of and Acetone was evaporated under reduced pressure. The
crude VLS-05 (-70–75% purity by HPLC).                         precipitate (Trityl alcohol) was filtered and washed with
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water (20 mL); the combined aqueous filtrate washed with    perature (TLC monitoring; Hex/EtOAc 4:1) and quenched
50 mL of EtOAc and slowly acidified to pH 2 with 6 N        with Water (200 mL). After stirring of 1 hat room tempera
aqueous HC1. The resulted Suspension was extracted twice    ture, the two-phase mixture was separated, the organic phase
with EtOAc (total 120 mL), the combined organics were       washed with water and evaporated under reduced pressure to
washed with brine and concentrated to 50 mL volume under 5 give 20.5 g of crude VLS-05 (about 90–95% purity by
reduced pressure. This solution was cooled down to 0–4 C, HPLC) as yellow foam. VLS-05 (20.5 g., -25.5 mmol) was
stirred for 5 h and filtered to give 7.2 g (75% based on dissolved in acetone (100 mL) and 3N HCl (25 mL, -3 eq),
VLS-05, 97% chemical purity by HPLC) of VLS-00 as a and stirred for 5 hours at room temperature.
white solid.                                                   A solution of NaOH (6.1 g, 152.5 mmol. 6 eq) in 15 mL
                                                         10 of water was slowly added and the resulting yellow solution
                       EXAMPLE 6                            was stirred for 10 hat room temperature and 4 hours at 50°
                                                            C. Water (70 mL) was added, acetone was evaporated under
    Preparation of Valsartan using EtOAc as a Solvent       reduced pressure and the precipitate (trityl alcohol) was
                                                            filtered and washed with water (2x30 mL); the combined
                                                         15 aqueous filtrate washed with EtOAc (2x30 mL) and slowly
                                                            acidified to pH 2.5–3.5 with concentrated HC1. The resulting
                                                            suspension was extracted twice with EtOAc (total 200 mL),
                                                            the combined organics were washed with brine dried over
                                                            NaSO filtered and evaporated under reduced pressure to
HN                                                          60 mL volume. Hexane (20 mL) was added and the resulting
                                                            solution was vigorously stirred at 0–5°C. for 2–3 hours. The
                                                            suspension was filtered, the solid washed with cold mixture
                                                            Hexane/EtOAc (1:1, 2x20 mL) and dried under reduced
                                                            pressure at 50° C. until constant weight to give 7.7 g (-70
                                                         25 % yield for 4 steps) of crude VLS-00 as white powder.

                                    1) K2CO3, EtOAc                                      EXAMPLE 7
                                   He
                                    2) Valeroyl chloride
                                                                                    Trituration of Valsartan
                                                             30
                                                                  Valsartan (5 grams, contained 2.7% of EtOAc) was sus
                                                                pended in 50 mL of water and stirred for 12 hours at 40°C.
                                                                The suspension was filtered, washed with water and the solid
                                                                was dried for 3 hours at 35° C. under reduced pressure to
                                                             35 give 4.9 g of Valsartan as a white powder.

                                                                                         EXAMPLE 8

                                              1) acetone,
                                                 aq HCI
                                                                         Hydrolysis and Cleaning of Trityl Valsartan
                                             ---             40
                                              (2) MeOH,
                                                  aq. NaOH         A solution of 98% sulfuric acid (1.45 g, 14.75 mmol) in
                                                                water (30 mL) was added at 23–27°C. to a suspension of
                                                                trityl Valsartan, containing 7.97% of D-trityl Valsartan, (10g,
                                                                14.75 mmol) in acetone (60 mL). The obtained suspension
                                                             45 was stirred at 23–27°C. for about 24 h. The suspension was
                                                                basified with 3 N solution of sodium hydroxide to pH
                                                                11.7–11.9. Acetone was then distilled off and the precipi
                                                                  tated solids so-formed were filtered off and washed with
                                                                  water (6 mLx2). The combined water layers were extracted
                                                             50   with ethyl acetate (18 mLx2), the water solution was acidi
                                                                  fied with 3 N solution of sulfuric acid to pH 2.5–2.7,
                                                                  extracted with ethyl acetate (36 mLX3), dried over sodium
                                                                  Sulfate, filtered and evaporated to give a semi-solid residue
                                                                  (3.9 g) of VLS, containing 0.40% of D-VLS.
                                                             55
                                                                                         EXAMPLE 9

                                                                           Cleaning D-isomer During the Reaction
To a suspension of L-valine methyl ester (free base, VLS-07. 60 A solution of 98% Sulfuric acid (1.45 g, 14.75 mmol) in
5.0 g, 36.5 mmol. 1.5 eq) and KCO (28 g. 203 mmol. 8 eq) Water (30 mL) was added to a solution of TVLS, containing
in dry EtOAc (150 mL), VLS-02 (14.2g, 25.5 mmol) was about 4% of D-TVLS, (10g, 14.75 mmol) in Acetone (60
added in one portion. The reaction was stirred for 20–24 h mL), and the suspension formed was stirred at 15–25°C. for
at reflux temperature under argon (TLC monitoring, Hex/ about 24 h. After this, the suspension was basified with 3 N
EtOAc 4:1), cooled to 0° C., followed by addition of 65 solution of Sodium Hydroxide to pH 11.7–11.9, Acetone
Valeroyl chloride (7.3 g, 7.2 mL, 61.0 mmol. 2.4 eq). The was removed under reduced pressure at 30° C., Triphenyl
resulting Suspension was stirred for 2 hours at room tem carbinol was filtered off and washed with Water (6 mLx2),
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                              25                                                                 26
the basic aqueous solution was extracted with Ethyl Acetate                                EXAMPLE     12
(18 mLx2), acidified with 3 NSolution of Sulfuric acid to
pH 2.6–28, extracted with Ethyl Acetate (36 mLX3), the                     Hydrolysis and Cleaning of Trityl Valsartan
Ethyl Acetate solution was washed with brine (20 mL), dried
over Sodium sulfate and evaporated to give a solid residue 5 A solution of 98% Sulfuric acid (1.45 g, 14.75 mmol) in
of VLS (3.92 g. 61%) containing 0.59% of D-VLS.                    Water (30 mL) was added to a solution of TVLS, containing
                                                                   about 4% of D-TVLS, (10g, 14.75 mmol) in Acetone (60
                        EXAMPLE 10                                 mL), and the suspension formed was stirred at 15–25°C. for
                                                                   about 24 h. After this, the suspension was basified with 3 N
                                                                10 solution of Sodium Hydroxide to pH 11.7–11.9, Acetone
         Hydrolysis and Cleaning of Trityl Valsartan               was removed under reduced pressure at 30° C., Triphenyl
                                                                   carbinol was filtered off and washed with Water (6 mLx2),
   Trityl Valsartan (5.0 g) was mixed with methanol (50 mL) the basic aqueous solution was extracted with Ethyl Acetate
and the Suspension was heated to reflux to give a solution (18 mLx2), acidified with 3 NSolution of Sulfuric acid to
which was refluxed for about 1 h (TLC monitoring, DCM/ 15 pH 2.6–28, extracted with Ethyl Acetate (36 mLX3), the
Methanol 7:1). The solution was heated at this temperature Ethyl Acetate solution was washed with brine (20 mL), dried
for an additional 1.5 h. The solution was then cooled to           over Sodium sulfate and evaporated to give a solid residue
20–25° C. and stirred for about 1 h at this temperature. Thee of VLS (3.92 g, 61%) containing 0.59% of D-VLS.
precipitated solids were filtered off and the filtrate was kept
overnight at 4–8° C. and then at -13° C. for about 1 h. The                                EXAMPLE 13
precipitated solids were filtered off the filtrate was evapo
rated to give a semisolid residue (2.25 g, 70%). The level of           Process for the Preparation of Valsartan, Starting
the D-isomer was 0.4%                                                                  from Trityl Valsartan
                       EXAMPLE 11                             25     TVLS (10.0 g, 14.75 mmol) was dissolved at reflux in
                                                                  Methanol (100 mL) and the solution was refluxed for about
         Hydrolysis and Cleaning of Trityl Valsartan              3 h (TLC control). The solution was cooled to 20–25°C. and
                                                                  basified with 3 Naqueous solution of Sodium hydroxide to
                                                                  pH 11.8. Methanol was removed under reduced pressure at
   To clear yellow solution of Valsartan Trityl (400 g, -80% 30 30° C., the precipitate was filtered off and washed on the
assay, ~0.50 mol) containing 4% of D-trityl Valsartan in filter with Water (6 mLx2). The aqueous filtrate was
Acetone (1600 mL, 5 volumes), HSO (98%, 73.5g, 40.0 extracted with ethyl acetate (14 mLX2) and acidified with 3
mL, 0.75 mol) dissolved in HO (450 mL, 1.5 volumes) was N solution of Sulfuric acid to pH 2.7. The precipitated
slowly added keeping reaction temperature in range 35–40° viscous oil was extracted with Ethyl Acetate (18 mLX3), the
C. The resulted Suspension (the Suspension disappeared after 35 combined extracts were washed with brine (20 mL), dried
1–1.5 h of stirring) was stirred for 3h at 35–40° C. (TLC over Sodium sulfate and evaporated to give a solid residue
monitoring: Hex/EtOAc 1:1), cooled to room temperature of VLS, (4.81 g, 74.9%). The level of the D-isomer was
and slowly basified to pH 12.0-12.5 with NaOH (-4.5 eq, 3.85%.
90.0 g, 2.25 mol) dissolved in HO (600 mL). Acetone was                                    EXAMPLE 1.4
evaporated under reduced pressure at 30° C. and the resulted 40
precipitate (triphenyl carbinol) was filtered and washed with              Hydrolysis and Cleaning of Trityl Valsartan
H2O (200 mL). The combined aqueous phase was extracted
with EtOAc (500 mL) and acidified to pH 2–3 with 3M
NaSO, (-300 mL). The acidic aqueous suspension was 45 andTVLS          the
                                                                             (5.0 g) was dissolved in Methanol (50 mL) at reflux
                                                                            solution  was refluxed for about 1 h (TLC control).
extracted with EtOAc (2200 mL), the organic phase was Methanol was removed                   under reduced pressure to obtain a
dried over NaSO (200 g) and evaporated under reduced residue (10 g). The residue was kept overnight at 47°C.,
pressure. The Sticky semisolid residue (~400 g) containing the precipitate was filtered off, the filtrate evaporated to give
3.8% D-trityl valsartan was crystallized from EtOAc (1500 the solid residue of VLS (2.89 g, 89.5%). The level of the
mL, solution at 60° C., start of precipitation at 23°C., then 50 D-isomer was 4.4%.
15 h at 20–21° C. and 1 h at 0–4° C.). The precipitate was
filtered, washed with cold (-5° C.) EtOAc (200 mL) and                                     EXAMPLE 1.5
dried under reduced pressure at 50° C. for 1 h to give 193
g of crude Valsartan as white solid containing 0.38% D-trityl              Hydrolysis and Cleaning of Trityl Valsartan
Valsartan. The crude was recrystallized from EtOAc (1500 55
mL, solution at 63°C., start of precipitation at 27°C., then         A 10 liter reactor equipped with mechanical stirrer, con
15 h at 20–21° C. and 1 h at 0–4° C.) to give -150 g of denser and thermometer, was charged at ambient tempera
Valsartan crystals as white powder. Valsartan crystals were ture with trityl Valsartan (1 Kg ), acetone (4 L) and an
triturated with HO (1500 mL) for 24 h at 30° C., filtered, aqueous mixture of HSO 98% (HSOHO 100 mL. 1125
washed with HO (2x200 mL) and dried on the filter for 1 60 mL). The slurry was then heated to 36° C. and stirred at a
h (Valsartan after trituration contains ~25% (w/w) of H2O). rate of 400 rpm for 5 hours until the end of the reaction
Then, Valsartan was dried under reduced pressure (10–13           (monitoring by TLC).
mmHg) at 50° C. for 5 h (KF -0.9%) to give 142 g (71–72%             The slurry was then cooled to 22–24°C. and was basified
yield) of the desired product (VLS-303–07, assay 99.8% by with a mixture of NaOH flakes (243 g) and water (1620 cc
titration) as white powder. The D isomer detected in the final 65 ) while maintaining the temperature below 28°C. At the end
product (USP forum 2003 method) is 0.07%. The isoleucine of the addition the temperature was 23° C. and the pH was
impurity was detected by HPLC at a level of 0.01% area.           12.5. The reactor jacket was then heated to 40°C., and the
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                             27                                                            28
acetone of the reaction mixture was distilling off under                             EXAMPLE     1.8
vacuum (40–200 mm Hg). The distillation lasted 4 hours and
the jacket was then cooled to 30° C. The triphenyl carbinol      Drying the Wet Valsartan with Vacuum Dryer while
that precipitated during the distillation was filtered and        Stirring then Humidification with Humid Nitrogen
washed with water (500 mL). The mother liquor so obtained
(393.0 g) was returned to the reactor and EtOAc (1250 mL)      600 g of Valsartan prepared according to example 38 were
was added and stirred for 30 minutes, then the stirring was put in the drying apparatus while heating to 45° C. under
stopped for 30 minutes and the separation of the two phases vacuum (less than 60 mm Hg). The solid was maintained for
was performed. The aqueous phase (4083 g) was returned to 2 hours without stirring, and then the stirrer was put on
the reactor and was acidified with an aqueous mixture of 10 (15–20 rpm) for about 4 hours until the loss on drying reach
HSO, 98% (HSO, water 150 g.: 417 mL) while maintain 6.5%. 60 g of the so obtained solid was put in a 0.5 L reactor
ing the temperature below 25°C. At the end of the addition at 50° C. under stirring (20 rpm). To this solid was flowed
the temperature was 25° C. and the pH was 2.5. EtOAc humidified nitrogen during 2 hours. Then the nitrogen was
(5500 mL) was then added and stirred for 30 minutes, then stopped and the Solid was put under vacuum (less than 30
the stirring was stopped for 30 minutes and a phase sepa 15 mm Hg) for 3 hours. The vacuum was stopped and humidi
ration was performed. To the organic phase (~6600 g). fied nitrogen was flowed inside the reactor for 2 hours
sodium sulfate (Na2SO4 450 g) was added, stirred in the (humidification of the nitrogen was done by bubbling nitro
reactor for 20 minutes and then the reactor content was      gen through a vessel of water). Then the nitrogen was
filtered under vacuum. The organic phase was returned to the stopped again and the solid was put again under vacuum
reactor and a distillation was performed under vacuum (less than 30 mm Hg) for 5 hours. The XRD pattern showed
(10–200 mm Hg) at 40°C. The distillation lasted 6.5 hours that the material is essentially amorphous, and the DSC
leading to a solid residue in the reactor. Then the vacuum showed an endotherm with enthalpy 29 J/g,
was stopped and EtOAc (3750 mL) was added while the
reactor was heated to 50° C. until getting a clear solution.                         EXAMPLE 19
The heating was continued for 0.5 hours. Then the clear 25
solution was cooled to 32-34°C. and seeded with 0.5g of          Drying the Wet Valsartan with Vacuum Dryer while
Valsartan. At the end of the addition the stirring was main        Stirring then Humidification with Fluidized Bed
tained for 0.5 hours at 32-34°C., then cooled during 2 hours
until 22–24° C. and maintained while stirring for 0.5 hours    85 g of the material obtained in example 39 (after drying
at this temperature. The slurry was then cooled during 2 30 with stirring and LOD=2%) was put in the fluidized bed at
hours until 0–2° C. and maintained while stirring for 0.5 30–40° C. during 13 hours. The XRD pattern showed that
hours at this temperature. The suspension was then filtered, the material is essentially amorphous, and the DSC showed
washed with EtOAc (500 mL) to obtain 630.3 g of wet an endotherm with enthalpy 29 J/g.
material.
                                                           35                        EXAMPLE 20
                     EXAMPLE 16
                                                                                     Harsh Drying
Preparation of Valsartan Crystals
   A 10 liter reactor equipped with mechanical stirrer, con 40 10 g of Valsartan with loss on drying less than 10% are
denser and thermometer, was charged with Valsartan crude dried under vacuum oven (1 mm Hg) at 60° C. for 24 hours
wet (630 g) and EtOAc (3700 mL). The jacket was then to get a compound with loss on drying less than 0.5%.
heated to 45° C. and stirred at a rate of 400 rpm until getting
a clear solution. The heating was continued for 0.5 hours.                          EXAMPLE 21
Then the clear solution was cooled to 34–36°C. and seeded 45
with 0.1 g of VLS. At the end of the addition the stirring was                       Harsh Drying
maintained for 0.5 hours at 34–36°C., then cooled during 2
hours until 24-26°C. and maintained while stirring for 0.5       10 g of Valsartan with loss on drying less than 10% are
hours at this temperature. The slurry was then cooled during dried under vacuum oven (50 mm Hg) at 30° C. for 5 days
2.5 hours until 0°C. (+5°C.) and maintained while stirring 50 to get a compound with loss on drying less than 0.5%.
for 0.5 hours at this temperature. The slurry was then filtered
and washed with EtOAc (400 mL) to obtain 549.3 g of wet                             EXAMPLE 22
material.
                                                                                     Harsh Drying
                     EXAMPLE 17                            55
                                                                  10 g of Valsartan with loss on drying less than 10% are
   Drying the Wet Valsartan with Vacuum Dryer while            dried under vacuum oven (40 mm Hg) at 20° C. for 5 days
                        Stirring                               to get a compound with loss on drying less than 0.5%.
                                                                  Having thus described the invention with reference to
   600 g of Valsartan prepared according to example 38 were 60 particular preferred embodiments and illustrative examples,
put in the drying apparatus while heating to 45° C. under those in the art can appreciate modifications to the invention
vacuum (less than 60 mm Hg). The solid was maintained for as described and illustrated that do not depart from the spirit
2 hours without stirring, and then the stirrer was put on and scope of the invention as disclosed in the specification.
(15–20 rpm) for about 7 hours until the loss on drying reach The Examples are set forth to aid in understanding the
not more than 2%. The XRD pattern showed that the 65 invention but are not intended to, and should not be con
material is essentially amorphous, and the DSC showed an Strued to, limit its scope in any way. The examples do not
endotherm with enthalpy 29 J/g.                                include detailed descriptions of conventional methods. Such
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methods are well known to those of ordinary skill in the art      from about 5 to about 60° C. under pressure of less than
and are described in numerous publications.                       about 30 mmHg for a period of from about 1 to 5 days.
   What is claimed is:                                               9. The process of claim 8, wherein the Valsartan of step (b)
   1. A process for preparing Valsartan containing less than is maintained under pressure of less than about 10 mmHg.
about 5000 ppm residual solvent, comprising the steps of:            10. The process of claim 9, wherein the Valsartan of step
   a) providing Valsartan containing less than about 10% (b) is maintained under pressure of less than about 1 mmHg.
      organic solvent by weight;                                     11. The process of claim 2, 6 or 8 wherein the organic
   b) triturating the Valsartan in water, or contacting the Solvent        is selected from the group consisting of ethyl
      Valsartan with humid air in a fluidized bed drier, or
      maintaining the Valsartan at a temperature of from 10 and acetone. acetate, diisopropyl acetate, dichloromethane
                                                                  acetate, butyl
      about 5 to about 60° C. under pressure of less than            12. The process of claim 11, wherein the organic solvent
      about 30 mmHg for a period of from about 1 to 5 days; is ethyl       acetate.
      and
   c) recovering the Valsartan containing less than about            13. The process of claims 2, 6 or 8 wherein the Valsartan
      5000 ppm residual solvent.                               15 of step (b) is dried at a temperature of from about 5 to about
   2. The process of claim 1, wherein the Valsartan of step (b) 60° C.
is prepared by triturating the Valsartan in water.                   14. The process of claims 2, 6 or 8 wherein the Valsartan
   3. The process of claim 2, wherein the Valsartan of step (b) of step (a) is obtained by drying until the organic solvent
is triturated in about 4 to about 30 volumes of water per 1       content is of less than about 10% by weight.
gr of Valsartan, for a period of time of about 5 and about 48        15. The process of claim 14, wherein the Valsartan that is
hours.                                                            dried is obtained by crystallization from an organic Solvent.
   4. The process of claim 3, wherein the Valsartan prepared         16. The process of claims 2, 6 or 8 wherein the Valsartan
has less than about 0.10% of D-isomer.
                                                                  of step (a) is obtained by crystallization from an organic
   5. The process of claim 4, wherein the D-isomer is present solvent.
at about 0.07% as area percentage HPLC.                        25
                                                                     17. The process of claims 16, wherein the organic solvent
   6. The process of claim 1, wherein the Valsartan of step (b) is selected   from the group consisting of ethyl acetate, butyl
is prepared by contacting the Valsartan with humid air in a
fluidized bed drier.                                              acetate, diisopropyl   acetate, dichloromethane and acetone.
   7. The process of claim 6, wherein the atmosphere in the          18. The process of claim 17, wherein the organic solvent
fluidized bed drier is at least 30% humidity.                  30 is ethyl acetate.
   8. The process of claim 1 wherein the Valsartan of step (b)
is prepared by maintaining the Valsartan at a temperature of
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                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 7,199,144 B2                                                              Page 1 of 1
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DATED                 : April 3, 2007
INVENTOR(S)           : Rukhman et al.

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 25, line 3, change “pH 2.6 – 28 to -- pH 2.6 -2.8-
        Column 26, line 15, change “pH 2.6 – 28 to -- pH 2.6 - 2.8-
        Column 27, line 60, change “example 38' to -- example16--
        Column 28, line 6, change “example 38 to -- example16--
        Column 28, line 29, change “example 39 to -- example17 --




                                                                    Signed and Sealed this
                                                            Eighth Day of December, 2009




                                                                               David J. Kappos
                                                           Director of the United States Patent and Trademark Office
